           Case 1:19-cv-12550 Document 17 Filed 12/19/19 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
          Case 1:19-cv-12550 Document 17 Filed 12/19/19 Page 2 of 4



                                  Declaration of Peter Feinstein
Pursuant to 28 U.S.C. § 1746, I, Peter Feinstein, declare as follows:
1. I am 56 years old, and I live in Plymouth, Massachusetts with my wife. My son, Michael

    Feinstein, lived with us before he was incarcerated at MCI-Cedar Junction.

2. Michael was a pretty happy kid. He was very good at sports, especially baseball. He was also

    really close with his younger brother, Matt, and always looked out for him.

3. We started to see Michael using drugs during his senior year in high school. It was so hard to

    see him go through that downward spiral. We saw him using OxyContin, and when that got

    too expensive, he switched to heroin. As his addiction increased, so did his involvement with

    the criminal legal system. Michael has a great heart, but when he was in a state of active

    addiction, he made some bad choices.

4. I have seen some very smart people get addicted to opiates, and I know addiction doesn't

    discriminate or care about your social status. I don't think there is one person who can say

    they don't know someone who is impacted by the opioid crisis.

5. Our family certainly has been. My wife and I watched Michael struggle with this addiction

    for years. I have had to see my son on life support after one of his overdoses. I thought we

    were going to lose him. He put me down as the person to try and identify him because he

    didn' t want his mother to have to do so. It was brutal.

6. We quickly realized that Michael' s addiction was life or death, and we tried everything that

    we could think of to try and help him. I ran around the state with him and brought him to

    every rehabilitation center I knew. I even involuntarily committed him a few times. But

    straight detox never worked for him, because it didn't help address his cravings. He would

    come out and go back to his dealer in a matter of days or weeks.
         Case 1:19-cv-12550 Document 17 Filed 12/19/19 Page 3 of 4



7. I love my son, but when he was in a state of active addiction, it really put a wedge between

   us. At one point, it got so bad that I brought him to a homeless shelter. I told him that he

   couldn't be around us, that he was going to give me a stroke and that I couldn't do it

   anymore. It broke my heart to say this to him. But I didn't know what else to do.

8. Michael's prescribed Suboxone treatment has made all of the difference. During the seven

   months before he went into Cedar Junction, Michael was taking a prescribed dose of

   Suboxone, and I was finally able to see my son in a state of active recovery.

9. He went to work every day in construction and landscaping, and was able to do things like

   build brick retaining walls. I knew the Suboxone was helping him, because he never could

   have done this physically difficult work while he was still in active addiction. When I picked

   him up at the end of the day, his boss would tell me that my son was a great worker and that

   he was going to be lost without him during his sentence.

I0. My wife and I also saw a difference at home. He made sure things were done around the

   house, and he helped us out in every way he could. He really stepped up.

11. Before Michael went into Cedar Junction, I told him I was going to truly miss him. It is the

   first time I have told him that before a period of incarceration. Michael's prescribed

   Suboxone treatment gave me my son back. Michael in active recovery is able to be the

   person that he truly is. I am so proud of him. He and I both know that there is so much that he

   can do.

12. Michael's Suboxone treatment is helping to save his life. I don' t know why the

   Massachusetts Department of Correction would cut off his medication. I know there is access

   to drugs both inside and outside of prison. I am terrified that he will go through withdrawal

   and relapse if he is taken off of his Suboxone treatment while he is incarcerated.



                                                 2
          Case 1:19-cv-12550 Document 17 Filed 12/19/19 Page 4 of 4



13. Michael will need to fight his addiction for his entire life. His Suboxone treatment helps him

   win that battle and stay in active recovery.

14. Michael's nephew was born the week after he entered MCI-Cedar Junction. Not being there

   was very hard for him. Michael is going to be the godfather, so his brother Matt is waiting to

   do the ceremony until he is released. We need Michael to stay on his prescribed Suboxone

   treatment so that he can come home and meet his nephew in a state of active recovery.


   I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on December    L] 2019




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